[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION
Following a hearing in damages, the Court enters judgment against the defendant Scott Morgan, as follows:
    Economic Damages          3886.39 Non Economic Damages     15000.00 --------- Total       $18886.39
Judgment shall enter for the defendant Denise Morgan — no evidence that she was negligent or a contributing cause of plaintiff's injury.
Judgment for the plaintiff against Scott Morgan in the amount of $18,886.39 plus costs.
BY THE COURT, CT Page 3435
Lawrence C. Klaczak, J. Judge, Superior Court